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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

RAHUL MANCHANDA,
                                                  CIVIL ACTION NO. 1:19-cv-05121 (WHP)
                      Plaintiff,
                                                                    Civil Action
        v.
                                                    ORDER GRANTING DEFENDANT’S
EDUCATIONAL CREDIT MANAGEMENT                      MOTION FOR SUMMARY JUDGMENT
CORPORATION,                                         PURSUANT TO FED. R. CIV. P. 56

                      Defendant.



       THIS MATTER having been opened to the Court upon the motion of Defendant

Educational Credit Management Corporation (“ECMC”), by and through its counsel, Law

Offices of Kenneth L. Baum LLC, for entry of an order granting ECMC summary judgment

pursuant to Fed. R. Civ. P. 56 and granting such other and further relief as the Court deems just

and proper (the “Motion”); and the Court having considered the papers filed in support of the

Motion and in opposition thereto, if any; and the Court having heard oral argument, if any; and

for good cause shown;

       IT IS on this ___ day of _______________, 2021,

       ORDERED that the Motion be and is hereby granted; and it is further
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        ORDERED that ECMC be and is hereby awarded summary judgment pursuant to Fed.

R. Civ. P. 56; and it is further

        ORDERED that Plaintiff’s Third Amended Complaint be and is hereby dismissed with

prejudice.



                                                 ________________________________
                                                 HON. WILLIAM H. PAULEY III
                                                 United States District Judge


___ Opposed
___ Unopposed




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